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                                                      Exhibit 6
                        Designations of Deposition Testimony of Sharon Carter (July 29, 2022)


             Plaintiffs’ Affirmative Designations                          Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’      Start Page/Line   End Page/Line         Plaintiffs’
                                                Objections                                              Objections
        6:7                    6:25
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       14:13                  14:20
       15:23                   16:8
       19:5                   19:10
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       40:21                  41:15
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       68:21                   69:9
       71:15                   72:3
       72:19                   73:1




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